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1.      388540     Alston, Adreinne         Parafinczuk Wolf, P.A.   3:23-cv-09157

2.      388498     Anthony, Robert          Parafinczuk Wolf, P.A.   3:23-cv-09021

3.      388109     Bailey, Mark             Parafinczuk Wolf, P.A.   3:23-cv-08475

4.      387226     Bickford, John           Parafinczuk Wolf, P.A.   3:23-cv-07587
                   Blackwell, Priscilla
5.      387257                              Parafinczuk Wolf, P.A.   3:23-cv-07610
                   Perez
6.      388551     Boyd, Wesley             Parafinczuk Wolf, P.A.   3:23-cv-09106

7.      388505     Burgos, Edwin            Parafinczuk Wolf, P.A.   3:23-cv-09142

8.      387196     Butel, Mario             Parafinczuk Wolf, P.A.   3:23-cv-07496

9.      388114     Calamia, Tony            Parafinczuk Wolf, P.A.   3:23-cv-08785

10.     388471     Carter, Chad             Parafinczuk Wolf, P.A.   3:23-cv-08529

11.     388117     Clement, Radlee          Parafinczuk Wolf, P.A.   3:23-cv-08881

12.     388552     Clinansmith, Alan        Parafinczuk Wolf, P.A.   3:23-cv-09102

13.     388118     Clingan, Brett           Parafinczuk Wolf, P.A.   3:23-cv-08490

14.     388546     Conorino, Daniel         Parafinczuk Wolf, P.A.   3:23-cv-09124

15.     387250     Cortez, Joe              Parafinczuk Wolf, P.A.   3:23-cv-07613

16.     388499     Cratin, Matthew          Parafinczuk Wolf, P.A.   3:23-cv-09023

17.     388516     David, Amador D          Parafinczuk Wolf, P.A.   3:23-cv-09145

18.     388478     Deslatte, Dorian         Parafinczuk Wolf, P.A.   3:23-cv-08534
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19.     388129     Dolan, William            Parafinczuk Wolf, P.A.   3:23-cv-08792

20.     388529     Estep, Ronald             Parafinczuk Wolf, P.A.   3:23-cv-09198

21.     388131     Ford, Blake               Parafinczuk Wolf, P.A.   3:23-cv-08886

22.     388534     Foskey, Shaun             Parafinczuk Wolf, P.A.   3:23-cv-09188

23.     388541     Fullen, Jeffrey           Parafinczuk Wolf, P.A.   3:23-cv-09154

24.     388132     Garrett, Frederick        Parafinczuk Wolf, P.A.   3:23-cv-08889

25.     388133     Garza, Jose               Parafinczuk Wolf, P.A.   3:23-cv-08833

26.     387252     Gilbert, Taylor           Parafinczuk Wolf, P.A.   3:23-cv-07615

27.     388135     Gonzalez, Edwin           Parafinczuk Wolf, P.A.   3:23-cv-08769

28.     388500     Grooms, Eric              Parafinczuk Wolf, P.A.   3:23-cv-09024

29.     388139     Harger, Justin            Parafinczuk Wolf, P.A.   3:23-cv-08890

30.     387191     Hipp, Joshua              Parafinczuk Wolf, P.A.   3:23-cv-07479

31.     388482     Hood, Tony                Parafinczuk Wolf, P.A.   3:23-cv-08772

32.     388147     Jenkins, Elvin J          Parafinczuk Wolf, P.A.   3:23-cv-08748

33.     388148     Jones, Darren             Parafinczuk Wolf, P.A.   3:23-cv-08481

34.     387217     Kasun, Ethan              Parafinczuk Wolf, P.A.   3:23-cv-07570

35.     388149     Keith, Garrett            Parafinczuk Wolf, P.A.   3:23-cv-08729

36.     388509     Kemppainen, Kyle          Parafinczuk Wolf, P.A.   3:23-cv-09184
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37.     387204     King, Joshua             Parafinczuk Wolf, P.A.   3:23-cv-07519

38.     388474     Kirkland, Jason          Parafinczuk Wolf, P.A.   3:23-cv-08773

39.     387234     Kirkland, Jesse          Parafinczuk Wolf, P.A.   3:23-cv-07919

40.     388150     Kotara, Darrell          Parafinczuk Wolf, P.A.   3:23-cv-08483

41.     388152     Lara, Larry              Parafinczuk Wolf, P.A.   3:23-cv-08872

42.     388156     Layton, Jonathan         Parafinczuk Wolf, P.A.   3:23-cv-08514

43.     388157     Leggett, Jamell          Parafinczuk Wolf, P.A.   3:23-cv-08878

44.     388161     Mcbride, Stacy           Parafinczuk Wolf, P.A.   3:23-cv-08775

45.     387187     Mcneal, Marcus           Parafinczuk Wolf, P.A.   3:23-cv-07420

46.     388549     Merkerson, Rosalind      Parafinczuk Wolf, P.A.   3:23-cv-09111

47.     387265     Mizell, Brady            Parafinczuk Wolf, P.A.   3:23-cv-07694

48.     388510     Montalvo, Joshua         Parafinczuk Wolf, P.A.   3:23-cv-09209

49.     388164     Mueller, Drew            Parafinczuk Wolf, P.A.   3:23-cv-08899

50.     388165     Nunn, James              Parafinczuk Wolf, P.A.   3:23-cv-08742

51.     388167     Pellegrin, Casandra      Parafinczuk Wolf, P.A.   3:23-cv-08733

52.     388171     Ramirez, William         Parafinczuk Wolf, P.A.   3:23-cv-08564

53.     388175     Robertson, Leslie        Parafinczuk Wolf, P.A.   3:23-cv-08550

54.     387231     Russell, Dustin          Parafinczuk Wolf, P.A.   3:23-cv-07913
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55.     387259     Ryan, Sean               Parafinczuk Wolf, P.A.   3:23-cv-07697

56.     388590     Samuels, Scott           Parafinczuk Wolf, P.A.   3:23-cv-08808

57.     388531     Sanford, Michael         Parafinczuk Wolf, P.A.   3:23-cv-09194

58.     387266     Sellers, Raponzea        Parafinczuk Wolf, P.A.   3:23-cv-07699

59.     388487     Shaw, Michael            Parafinczuk Wolf, P.A.   3:23-cv-08916

60.     387223     Smith, Calvin James      Parafinczuk Wolf, P.A.   3:23-cv-07578

61.     388486     Smith, Demarcus          Parafinczuk Wolf, P.A.   3:23-cv-08917

62.     388180     Sparger, Jonathan        Parafinczuk Wolf, P.A.   3:23-cv-08743

63.     388184     Tanaskovich, Marinko     Parafinczuk Wolf, P.A.   3:23-cv-08489

64.     388187     Turner, Tyrone           Parafinczuk Wolf, P.A.   3:23-cv-08735

65.     388188     Varner, Timothy          Parafinczuk Wolf, P.A.   3:23-cv-08556

66.     387247     Vondra, Christopher      Parafinczuk Wolf, P.A.   3:23-cv-07627

67.     387224     Walker, Michael          Parafinczuk Wolf, P.A.   3:23-cv-07582

68.     388190     Waller, Patrick          Parafinczuk Wolf, P.A.   3:23-cv-08780

69.     388191     Washington, Davviean     Parafinczuk Wolf, P.A.   3:23-cv-08782

70.     388515     Watkins, Lemarcus        Parafinczuk Wolf, P.A.   3:23-cv-09223

71.     387233     Williams, Jacory         Parafinczuk Wolf, P.A.   3:23-cv-07917
